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                    EXHIBIT E
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                              Resolution of the Board of Directors
                                               of
                                       Labor Smart Inc.

       WHEREAS, a special meeting of the Board of Directors of Labor Smart Inc. (the
“Company”) was noticed to Toby McBride, Michael Holley, Jason Tucker and Joseph Pavlik on
November 4, 2022 via email;
       WHEREAS, on November 7, 2022 at 9:00 a.m. MST, Michael Holley, Toby McBride,
and Joseph Pavlik appeared by conference call;
       WHEREAS, Several minutes before the time of the call, Veronica Manolio, Esq., had
communicated by e-mail to Matthew P. Canini, Esq., counsel for Mike Holley, and Jennifer Reiter,
Esq., counsel for Toby McBride, that neither she nor her client Jason Tucker would be appearing
at the meeting;
       WHEREAS, Veronica Manolio also represents Joseph Pavlik and, as such, Mr. Canini and
Ms. Reiter immediately departed the call before the meeting commenced and did not participate
in any portion of the meeting;
       WHEREAS, On September 13, 2021, pursuant to Section 10 of the Company’s bylaws
and by unanimous exercise of all 51 shares of the Company’s Series A Preferred Stock of which
Michael Holley owns 17 shares, Jason Tucker owns 17 shares, and Joseph Pavlik owns 17 shares,
the Shareholders of the Company by a vote of 19,283,582,170 out of a total 29,282,150,656
available votes (66%) filled the Company’s vacant director positions by appointing Toby McBride,
Jason Tucker and Michael Holley as directors of the Company;
       WHEREAS, on December 21, 2021, by motion of Jason Tucker the Board of Directors of
the Company convened and by a vote of Toby McBride, Jason Tucker, and Joseph Pavlik resolved
and did attempt to remove Michael Holley as a Director of the Company, and as a director and
officer of the Company’s wholly owned subsidiary Takeover Industries, Inc. (“TI”) (the
“December 2021 Meeting”);
       WHEREAS, Michael Holley was hospitalized with COVID-19 at the time of the
December 2021 Meeting, and was known by Jason Tucker, Toby McBride and Joseph Pavlik to
have been hospitalized, and he did not receive notice of the December 2021 Meeting, attend the
Meeting, vote on the issues raised thereat, or subsequently ratify any actions taken at that Meeting;




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       WHEREAS, Joseph Pavlik was not a Director of the Company at the time of the December
2021 Meeting, but voted at the December 2021 Meeting;
       WHEREAS, pursuant to N.R.S. 78.335 titled “Directors: Removal; filling vacancies,” a
director can, in most circumstances, only be removed by a two-thirds vote of the shareholders;
       WHEREAS, pursuant to Wyoming Stat. 17-16-808(d) titled “Removal of Directors” a
director may be removed by the shareholders only at a shareholder meeting called for that purpose;
       WHEREAS, the Company never convened a shareholder meeting for the purpose of
removing directors of the Company under either Nevada or Wyoming law;
       WHEREAS, even had Jason Tucker, Joseph Pavlik and Toby McBride voted their
Common and Series A Preferred shares at the December 21, 2021 Meeting, which they did not,
their votes, including their exercise of 34 of the Company’s Series A Preferred shares, would only
have represented 12,445,721,447 of the 29,282,150,656 available votes (42.54%), which is not
enough to remove a director under either Nevada or Wyoming law;
       WHEREAS, based on the foregoing the actions taken at the December 2021 Meeting were
unauthorized and not in conformity with the law or Company Bylaws;
       WHEREAS, by virtue of Holley being unlawfully frozen out from the Board of Directors
actions taken by the Board of Directors subsequent to the December 2021 Meeting are ultra-vires;
       WHEREAS, during the December 2021 Meeting, Jason Tucker claimed Michael Holley
had committed various improprieties, including theft and embezzlement;
       WHEREAS, during the December 2021 meeting Jason Tucker attempted to cause the
Company to transfer Holley’s shares in the Company to other individuals, including himself;
       WHEREAS, at the direction of Jason Tucker, TI commenced a lawsuit against Michael
Holley in the Central District of California and later in the District of Arizona (the “Lawsuit”);
       WHEREAS, during the course and time frame of the Lawsuit information was made
available to Jason Tucker, Toby McBride, and Joseph Pavlik based on which Toby McBride and
Joseph Pavlik now understand that that their actions at the December 2021 Meeting were a nullity
and not in conformity with the law and Company Bylaws;
       WHEREAS, based on information on information obtained during the lawsuit, Toby
McBride and Joseph Pavlik now understand that Jason Tucker’s allegations against Michael
Holley were wrong and for the purpose of attempting to personally enrich Jason Tucker;




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       WHEREAS, since Michael Holley was frozen out of the Company and TI, Tucker has
engaged in wrongful conduct, and failed to meet his fiduciary duties, as President and Director of
TI and a Director of the Company, including withholding information from undisputed officers
and directors, subverting the directions of TI’s CEO, hiring vendors without approval that only
answer to Jason Tucker, and keeping secret TI’s financial situation, which is not in the best interest
of TI’s shareholders;
       WHEREAS, Jason Tucker has been untruthful to other Officers and Directors of the
Company and TI concerning material information regarding investors, products, and sales, which
is not in the best interests of TI and Company shareholders;
       WHEREAS, Jason Tucker has instructed others at TI not to communicate with other TI
Officers and Directors, which is not in the best interests of TI and Company shareholders;
       WHEREAS, Jason Tucker has caused TI to fail to honor its contractual obligations,
leading to potential, threatened, and/or actual claims and/or litigation against TI, which is not in
the best interests of TI and Company shareholders;
       WHEREAS, Eric Bjorgum has previously been retained to the do legal work for the
Company;
       WHEREAS, at the November 7, 2022 Meeting a quorum was present;
       WHEREAS, at the November 7, 2022 Meeting the foregoing matters were discussed and
all directors had a full and fair opportunity to ask questions and be heard;
       WHEREAS, given the dispute in the Lawsuit and Joseph Pavlik’s vote at the December
2021 Meeting, he was invited to attend and participate in the November 7, 2022 meeting and,
although not a director of the Company, indicate what his vote would be were he a Director;
       THEREFORE, IT IS:

       RESOLVED, all actions Taken at the December 21, 2021 meeting to the extent they were
ever effective are voided;
       RESOLVED, Michael Costello is suspended from his position as CEO of the Company
for a period of thirty days, with pay, and his authority to act on behalf of the Company is in all
aspects revoked during this period;
       RESOLVED, Michael Costello shall turn over to the Board of Directors of the Company
all accounts, documents, passwords or other material belonging to the Company;




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       RESOLVED, the Board of Directors shall conduct a review of Michael Costello’s actions
from the period September 1, 2021 to the date hereof;
       RESOLVED, the Board of Directors shall reconvene in thirty-days to discuss Michael
Costello’s position at LTNC;
       RESOLVED, Michael Holley is appointed interim CEO of the Company until the Board
Directors makes a determination with respect Michael Costello;
       RESOLVED, Jason Tucker shall immediately turn over to the Board of Directors all
contracts, documents, information, communications, passwords and financial accounts of the
Company;
       RESOLVED, Eric Bjorgum shall immediately turn over to the Board of Directors all
contracts, documents, information, communications, passwords and financial accounts of the
Company;
       REVOLVED, the Board of Director will conduct a review of all actions taken by the
Company since September 21, 2021 to the present;
       RESOLVED, the Board of Directors shall conduct a review of all actions taken by Jason
Tucker from September 21, 2021 to the present;
       RESOLVED, Eric Bjorgum is terminated as the Company’s counsel;
       RESOLVED, the Board of Directors will conduct a review of the Lawsuit;
       RESOLVED, the planned spinoff of Takeover is suspended for ninety days, while the
Company undertakes a review of documents and information concerning the transaction, which
have been withheld by Jason Tucker;
       RESOLVED, effective immediately, by exercise of a vote of the shares of TI owned by
the Company, which is between 97.345% and 100% of all issued and outstanding shares of TI, the
Company hereby removes Jason Tucker from TI’s board of directors and appoints Michael Holley
to replace him.
       RESOLVED, Joseph Pavlik and Toby McBride shall remain on TI’s board of directors;
and
       RESOLVED, TI’s board of directors is to meet immediately for the purpose of taking
corrective action regarding the matters discussed at the November 7, 2022 meeting.




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       IN WITNESS WHEREOF, the undersigned, being two of the three Directors of the
Company Agree, Approve and Adopt the foregoing resolutions as of November 7, 2022
following the duly noticed meeting of the Board of Directors held on this date.



        Joseph Pavlik, Observer


                                                    ________________________________
        Toby McBride, Director                      Michael Holley, Director




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